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EXHIBIT kK

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Drew J. Ribar,
Plaintiff.

State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
Defendants.

Case No. 3:24-ev-00103-ART-CLB

EXHIBIT K — Order to Dismiss Criminal Case (Bates No. EX028)

Filed in Support of Amended Complaint and Summary Judgment Motion (Fed. R. Civ. P.

56)

Plaintiff Drew J. Ribar, pro se, submits Exhibit K, the Order to Dismiss from the Carson City
Justice Court in State of Nevada v. Drew J. Ribar (Case No. 22 CR 01231 1C), issued circa
December 2022. obtained via discovery in the dismissed criminal case. Filed manually per LR IC
2-2 with a Notice of Manual Filing, this exhibit stands alone as evidence of the criminal case’s
favorable termination, while cross-referencing Exhibits C.D, E, F. H. I, and J to support

Plaintiffs claims and Rule 56 motion.

“4

Key Evidence and Legal Violations:

PLEADING TITLE - |

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Section Incident

State moves to

dismiss charges
Dismissal with “good
Order cause.” circa
(Bates December 2022,
EX028) = omitting NRS

203.010 from

Exhibit F.

Legal Relevance

Fourth Amendment malicious
prosecution—favorable
termination (7hompson v. Clark,
142 S. Ct. 1332, 2022); First
Amendment retaliation (Nieves v.
Bartlett, 139 8. Ct. 1715, 2019;
Board of County Comm Ts v.
Umbehr, 518 U.S. 668, 1996):
Monell vy. Dep't of Soc. Servs., 436
U.S, 658, 1978 pattern of
abandoning baseless charges:
inconsistent charges support
pretext; economic harm to A&A
Towing (Meyer v. Nebraska, 262

U.S. 390, 1923).

Cross-Reference

Exhibit C, 01:01:40.583
(public road). 01:05:13.333
(no signs); Exhibit E,
0:01:04—0:01:20 (threats);
Exhibit I’, EXOO01I-EX002
(three charges); Exhibit I,
FEX016-EX017 (two
charges); Exhibit I, EXO19—
E-X021 (two charges);

Exhibit J, EX027

Legal Claims Supported:

« First Amendment (42 U.S.C. § 1983): Dismissal suggests charges for lawful recording

(Exhibits C, D) were pretextual, supporting retaliation (Fordyce v. Seattle, 55 F.3d 436,

9th Cir. 1995; Glik v. Cunniffe, 655 F.3d 78, Ist Cir. 2011; Irizarry v. Yehia, 38 F.4th

1282, 10th Cir. 2022: Nieves; Umbehr, NRS 171.1233).

PLEADING TITLE - 2

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| ¢ Fourth Amendment (42 U.S.C. § 1983): Favorable termination of bascless charges
2 (Thompson, Devenpeck v. Alford, 543 U.S. 146. 2004). tied to arrest (Exhibit F, EX001—
° EX002), tow (EX014-EX015, Soldal v. Cook County, 506 U.S. 56, 1992), and
4
; prosecution (Exhibit I).
6 ¢ Fifth Amendment (42 U.S.C. § 1983): Late Miranda warning (Miranda v. Arizona, 384
7 U.S. 436, 1966), per Exhibit D (0:20:56), unaddressed in dismissed case.
8 ¢ Eighth Amendment (42 U.S.C. § 1983): Hotboxing (95°F, no ventilation, Exhibit J) as
° cruel and unusual punishment (Kingsley v. Hendrickson, 576 U.S. 389, 2015), linked to
10
1 arrest conditions (Exhibit D).
12 ¢ Fourteenth Amendment (42 U.S.C. § 1983): Procedural due process flaws in arrest,
13 prosecution, and weak risk assessment (Exhibit H; Mathews v. Eldridge, 424 U.S. 319,
4 1976; Parratt y. Taylor, 451 U.S. 527. 1981); substantive economic harm to A&A
5 Towing (Meyer; Lewis).
16
¢« Municipal Liability (42 U.S.C. § 1983): CCSO/DA custom of retaliation via arrest
18 (Exhibit F), indifference (Exhibit J), and abandoned prosecution (Exhibit K), ratified by
19 dismissal (Monel/).
20 ¢ State Law Claims: l’alse imprisonment (NRS 200.460), oppression under color of law
" (NRS 197.200), intentional interference with prospective economic advantage (28 U.S.C.
22
43 § 1367).
24
25
6 Summary Judgment Purpose (Fed. R. Civ. P. 56):
27
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PLEADING TITLE - 3

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Exhibit K’s faverable termination (Bates EX028) confirms the criminal case’s dismissal,
reinforcing the retaliatory arrest (Exhibits C, E) and prosecution (Exhibit 1) as baseless,
contradicted by video evidence (Lixhibit D), weak pretrial findings (Exhibit I1), and Plaintiff's
pre-litigation complaint (Exhibit J). The inconsistent charges (Exhibit F vs. I, 1) and DA’s
retreat suggest pretext, violating clearly established law. These undisputed facts leave no genuine
dispute of material fact—no reasonable jury could find Defendants’ actions justified —

entitling Plaintiff to judgment as a matter of law.

Qualified Immunity Defeat:

Defendants’ actions contravene clearly established rights under Pearson vy. Callahan. 555 U.S.
223 (2009):

Violation: Recording retaliation (Fordyce, Glik, Irizarry, Nieves, Umbehr), malicious
prosecution (Thompson), due process (Mathews, Parratt), inhumane treatment (Kings/ey). late
Miranda (Miranda).

Clearly Established: Rights defined pre-2022 (Fordyce. Thompson).

Actions show objective unreasonableness (Kings/ev), not mere negligence. “Security risk” or
“good cause” defenses fail under So/dal (warrant), Mathews (notice), and Nieves (retaliation bar)

(Harlow vy. Fitzgerald, 457 U.S. 800, 1982).

Supporting Evidence:

PLEADING TITLE - 4

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| |) Plaintiff recommends an affidavit confirming harm to A&A Towing, Inc.. reinforcing economic

~ ||damages trom retaliatory arrest and prosecution, and clarifying dismissal date as circa December
3
2022.
4
5
6

7 || Authentication:

9 |) Per Fed. R. Evid. 901.1, Drew J. Ribar, declare under penalty of perjury this Order to Dismiss
(Bates EX028) was obtained via discovery in Case No. 22 CR 01231 1C and accurately reflects

the dismissal of criminal charges against me circa December 2022.

|> | Dated: March 27, 2025

/s/ Drew J. Ribar

Drew J. Ribar

17 ||3480 Pershing Ln, Washoe Valley, NV 89704

18 || Tel: (775) 223-7899, Email: Const2Audit@gmail.com

PLEADING TITLE - 5

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2030, Carson City, NV 89701

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885 East Musser Street, Suite

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IN THE CARSON CITY JUSTICE COURT
IN AND FOR CARSON CITY, STATE OF NEVADA

STATE OF NEVADA,
Plaintiff, CaseNo. 22CR012311C
Vv. Dept. No. l

DREW J. RIBAR,
Defendant.

ORDER TO DISMISS

UPON MOTION of the Plaintiff, STATE OF NEVADA, by and through counsel,
JASON D. WOODBURY, District Attorney and MELISSA ROSENTHAL, Deputy
District Attorney in and for Carson City, State of Nevada, and good cause appearing
therefore,

IT IS HEREBY ORDERED that th ,above-captioned case be dismissed.
DATED this [ 4 dayof_|[/€Ceuhe 2001 |

Eg

JUSHICE COURT JUDGE

